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                                              Pg 1 of 2
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Counsel for the Joint Provisional Liquidators of FTX
Digital Markets Ltd. (in Provisional Liquidation)

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
 ---------------------------------------------------------
                                                          : Chapter 15
 In re:                                                   :
                                                          : Case No. 22-11516-MEW
 FTX DIGITAL MARKETS LTD. (in                             :
 Provisional Liquidation)                                 :
                                                          :
                            Debtor in a                   :
                            Foreign                       :
                            Proceeding. 1                 :
                                                          :
 ---------------------------------------------------------
                 MOTION FOR ADMISSION TO PRACTICE, PRO HAC VICE

        I, Tye C. Hancock, request admission, pro hac vice, before the Honorable Michael E.

Wiles, to represent Brian C. Simms, Kevin G. Cambridge, and Peter Greaves (the “Joint

Provisional Liquidators”), in their capacities as the duly appointed joint provisional liquidators

and foreign representatives of FTX Digital Markets Ltd. (“FTX Digital” or the “Debtor”), the

Debtor in the above-captioned chapter 15 proceeding with respect to a provisional liquidation in



1
  FTX Digital Markets Ltd. (in Provisional Liquidation) was incorporated in the Commonwealth of The Bahamas as
an International Business Company, registered number 207269B.
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the Commonwealth of The Bahamas (the “Bahamian Liquidation”) pursuant to the Companies

(Winding Up Amendment) Act 2011 (the “CWUA Act”).

       I certify that I am a member in good standing of the bar in the State of Texas and the bar

of the U.S. District Courts for the Northern, Southern, Eastern, and Western Districts of Texas, as

well as the Fifth Circuit Court of Appeals.

       I have submitted the filing fee of $200.00 with this motion for pro hac vice admission.

 Dated: November 17, 2022
        New York, New York                    HOLLAND & KNIGHT LLP


                                              /s/ Tye C. Hancock                       .
                                              Warren E. Gluck, Esq.
                                              Marie E. Larsen, Esq.
                                              David W. Wirt (Pro Hac Vice Pending)
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                                              Counsel for the Joint Provisional Liquidators of FTX
                                              Digital Markets Ltd. (in Provisional Liquidation)




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